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                          UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA

 IN RE:

 Michele alice Tappan aka Michele A.
 Tappan aka Michele Tappan aka                             CHAPTER 13
 Michelle A. Tappan aka Michelle Alice                  CASE NO.: 19-05019-jw
 Tappan aka Michelle Tappan,

                                  Debtor(s).          NOTICE OF APPEARANCE



       The undersigned hereby provides notice of an appearance in this case on behalf of Wells

Fargo Bank, N.A., (the “Creditor”), and requests that the firm name is added to the mailing

matrix and that the firm be copied with all notices and pleadings served in this case at the address

provided herein.



                               Rogers Townsend & Thomas, PC
                                   Post Office Box 100200
                                 Columbia, SC 29202-3200


                                               s/ Robert P. Davis
                                               John J. Hearn (I.D. 6494)
                                               Robert P. Davis (I.D. 10258)
                                               Kevin T. Brown (I.D. 5801)
                                               Attorney for the Creditor
                                               Post Office Box 100200
                                               Columbia, SC 29202
                                               (803) 744-4444

Columbia, South Carolina
October 11, 2019
